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                     EXHIBIT 5
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      I                               UNITED STATES DISTRICT COURT
                                     EASTERN DISTRICT OF LOUTSL'ANA
      2
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          IN RE: OIL SPILL BY THE
          OIL. RIG DEOWATER RoRmal
      5   IN THE GULF OF MEXICO ON
          APRIL 20, 2010
     6                                             CIVIL ACTION NO. 10-MD-21 9 "J"
                                                   KEW ORLEANS, LOUISIANA
     "1                                            THURSDAY, AUGUST 1, 2013, 8:00 A.M.
          THIS RELATES TO ALL CASES
              *A4************ -.4***                *****k***********444 ****** ,*
     9
    10
    11                     SWORN STATEMENT OF PATRICK A. JUNEAU, MUM
                              TAKEN BEFORE THE HONORABLE LOUIS J. FREEH
    12                                      SPECIAL MASTER
    13
    14    APPEARANCES:
    15
                                                   LOUIS J. FREEH, SPECIAL MASTER
    16                                             JAMES BUCKNAM, ESQUIRE
                                                   STEVE TIDWELL
    17
    18
    19
    20    OFFICIAL COURT REPORTER: CATHY PEPPER, CRR, RMR, CCR
                                    CERTIFIED RE ALTIME REPORTER
    21                              REGISTERED MERIT REPORTER
                                    500 POYORAS STREET, ROOM HB406
    22                              NEW ORLEANS, LA 70130
                                    (50-4) 589-7779
    23                              Cathv Peppernaed.u5courts.gov
    24
          PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY. TRANSCRIPT
    25    PRODUCED BY COMPUTER.

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 LO:3.6AM                   So I primarily -- when those issues come, I farm that
10:36AK          out to independent people. I don't have an in-house person to
10136AR      3   do that.
 0:36AN      4   Q.   With respect to Mr Sutton, from time to time did you task
1006AM       5   him or direct himto respond to a particular attorney or
1.0:.3f;Am 6     individual that was inquiring - about the status-of claims?
10:36701         A.   Oh, yeah.
LO:36AM      8   Q.   That was a regular part of his work?
IC;36AN          A.   That goes on today. Unfortunately, we are having to do
10:36M      10   it, just the two of us.
            11   Q.   Do you recall ever directing him to deal with an attorney
10:37Am     12   named Jon Andry with respect to claims that Andry had before
1 D ; 31All 13   the administrator?
1o:37A14 14      A.   I never directed him to do that.
10:37;kti   15   Q.   Do you recall, ever requesting or directing him to address
lo:mm 16         or respond to issues relating to what's known as the Andry Law
1Q137.4.1 17     Firm claim, which was a $7 million claim before the
10:37AM     18   administrator?
in,v7Am 1 q      A.   Tn mn -- no, T would have never done that. To me, that's
10:37AM     20   just one of 195,000. I think everybody knows -- I'm pretty
10:37kM     21   direct in my discussion with people. I'm sure S would have
10:3WW, 22       used words like, look, we ain't pushing nobody's case through
/0:37AK 23       here. I'm not here to foster anybody's case,
10;37/di 24                 We're not here to -- let the system work, do its
10:37AM     25   work. If you need to follow up on something that you need an

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                        ingary follow-up, yOu gO to -- we've got BrownGreer contacts
                        that will give you the information to respond.
                                    If it's a problem that BrownGreer is not doing their
                        work, jut come tell me about it. They're bogged down. If
                        we've got accountants getting behind, you let me know. That's
                        why I have the communication.
                                    So the answer to that is absolutely no. I mean, I've
 IRO6N1                 never, had that -- he's never made that request to me.
 10:.1AM                Q.   You don't recall ever asking him to look at a particular
 10:3BM          10     claim, such as the ones I've mentioned to you, or respond to a
ILI:sem 11              lawyer who was asking you about the claim?
10:3thiM         12     A.   About the Andry claim?
10Lnidi          13     Q.   Yes.
n.J.,aom 14             A.   No. I don't recall anything like that
                 15                   will tell you, this on the record -- you hesitate
  t.:38.0.4.1 16        what you say, but I don't know Jon -- I know Jon Andry; not
'JC.7.7.811.1.   17     personally, but I know him. I'm a lawyer. He's a younger
!0:1'3:-0.; 18          lawyer.
                  .11               Jon is    reF,1 pushy kind :0' gny. T gnpRs if ycatl

to:aii'm 20             check with the Court, that's what you would find. They
15:3,2A.i        21     appeared in the Court about release of the funds and all of
                        that stuff the other day. You could kind of blend that if you
IL): 29. TM 23          read the pleadings.
10:'19A24        24.                So we get pushed all the time by people. Claimants
1..):39m 25             push us, people -- politicians push us, everybody pushes us.

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